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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                            CR. No. 05-1849 JH

DANA JARVIS

               Defendant.



                            ORDER FOR INTERLOCUTORY SALE

       Based upon the joint motion of the Plaintiff United States and Defendant Dana Jarvis,

and for good cause shown,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.      The Joint Motion for Interlocutory Sale of Property is granted.

       2.      The property described below will be sold pursuant to the terms set forth in the

Joint Motion for Interlocutory Sale of Property:

               A.      New Mexico Liquor License Number 2599, and

                B.      Real Property at 3523 Central Ave. NE, Albuquerque, New Mexico,
together with its buildings, appurtenances, improvements, fixtures, attachments and easements
thereon. The real property is more particularly described as follows:

       LOTS NUMBERED TEN (10), ELEVEN (11), AND TWELVE (12) IN BLOCK
       NUMBERED FOUR (4) OF MONTE VISTA, AN ADDITION TO THE CITY OF
       ALBUQUERQUE, NEW MEXICO, AS THE SAME ARE SHOWN AND
       DESIGNATED ON THE MAP OF SAID ADDITION FILED IN THE OFFICE
       OF THE COUNTY CLERK OF BERNALILLO COUNTY, NEW MEXICO,
       OCTOBER 14, 1926.

       THERE IS EXCEPTED THE NORTHERLY PORTION OF SAID LOT THEN
       (10) WHICH IS DESCRIBED AS FOLLOWS:
       BEGINNING AT THE NORTHEAST CORNER OF SAID LOT (10)
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        RUNNING
        THENCE SOUTHERLY ALONG THE WESTERLY LINE OF NORTH CARLISLE
        AVENUE, 62.28 FEET TO THE SOUTHEAST CORNER OF THE TRACT HEREIN
        DESCRIBED;

        THENCE WESTERLY, PARALLEL WITH AND 60 FEET NORTHERLY AT
        RIGHT ANGLES FROM THE NORTHERLY LINE OF EAST CENTRAL
        AVENUE, 80.19 FEET TO THE SOUTHWEST CORNER OF THE TRACT
        HEREIN DESCRIBED;
        THENCE NORTHERLY ALONG THE WESTERLY LINE OF SAID LOT 10,
        86.09 FEET TO THE NORTHWEST CORNER OF THE TRACT HEREIN
        DESCRIBED WHICH IS THE NORTHWEST CORNER OF SAID LOT 10;
        THENCE EASTERLY ALONG THE SOUTHERLY LINE OF CAMPUS
        BOULEVARD, 86.97 FEET TO THE PLACE OF BEGINNING.

        3.     The net proceeds of the sale of the property will be substituted for the above-

described property and held by the United States Marshals Service pending a final judgment in

this action.



                                             JUDITH C. HERRERA
                                             UNITED STATES DISTRICT JUDGE
Respectfully submitted,
LARRY GOMEZ
Acting United States Attorney

  /s/
STEPHEN R. KOTZ
Assistant United States Attorney
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APPROVED:

Approved via telephone on October 1, 2007
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Approved via telephone on October 1, 2007
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